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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 CHONTE LONG                                    )
 2331 14th Place, S.E.                          )
 Washington, DC 20020                           )
                                                )
                          Plaintiff,            )
                                                )     Case No. _____________
                   v.                           )
                                                )
 MOTION PICTURE ASSOCIATION                     )
 OF AMERICA dba MPAA                            )
 1301 K St NW, Suite 900E                       )
 Washington, DC 20005                           )
                                                )
                          Defendant.            )
                                                )
                                                )

                                       NOTICE OF REMOVAL

         Pursuant to 28 U.S.C. §§ 1331, 1367, 1441, and 1446, Defendant Motion Picture

Association of America (“MPAA” or “Defendant”), through undersigned counsel, hereby files this

Notice of Removal of the above-captioned action currently pending in the Superior Court of the

District of Columbia, Case No. 2019 CA 003875 B. In support thereof, Defendant states as

follows:

         1.       Plaintiff Chonte Long (“Plaintiff”) initiated this civil action by filing a Complaint

against Defendant in the Superior Court of the District of Columbia. Copies of Plaintiff’s

Complaint, Summons and other related court documents are appended hereto as Exhibit A.

         2.       Defendant was served with a copy of the Complaint and Summons on or about July

1, 2019. This Notice of Removal is being filed with this Court within 30 days of the earliest receipt

of the Complaint by Defendant and is timely filed. See 28 U.S.C. § 1446(b).




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         3.       Plaintiff’s Complaint alleges claims of employment discrimination and retaliation

under Title VII of the Civil Rights Act, 42 U.S.C. § 2000(e) et seq., and the District of Columbia

Human Rights Act (“DCHRA”), D.C. Code § 2-1401 et seq. See Exhibit A, para 2.

         4.       This Court has original jurisdiction over this civil action under the provisions of 28

U.S.C. § 1331, which states: “[t]he district courts shall have original jurisdiction of all civil actions

arising under the Constitution, laws, or treaties of the United States.”

         5.       Plaintiff’s claims under Title VII present a federal question, and give this Court

original jurisdiction to hear her claims. See Rios v. ABC Imaging of Washington, Inc., No. CIV.A.

12-1065 RWR, 2012 WL 5379148, at *1 (D.D.C. Oct. 31, 2012) (recognizing that “[a] plaintiff's

claims under Title VII . . . arise under the laws of the United States”).

         6.       This Court has supplemental jurisdiction under 28 U.S.C. § 1367(a), which states,

in relevant part, that: “in any civil action of which the district courts have original jurisdiction, the

district courts shall have supplemental jurisdiction over all other claims that are so related to claims

in the action within such original jurisdiction that they form part of the same case or controversy.”

         7.       Here, Plaintiff’s claims under the DCHRA are part of the same case or controversy

as her federal law claims. See Rios, 2012 WL 5379148, at *2 (holding that a DCHRA claim is

part of same case or controversy as Title VII claim). In fact, Plaintiff’s Complaint does not even

attempt to distinguish between her claims under Title VII and her claims under the DCHRA,

thereby further emphasizing that such claims are part of the same case or controversy. See

generally, Exhibit A.

         8.       Based on the foregoing, this Court has original jurisdiction over Plaintiff’s Title VII

claims and supplemental jurisdiction over Plaintiff’s DCHRA claims.




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         9.        Exhibit A attached hereto represents all of the pleadings received by or served

upon Defendant in connection with Plaintiff’s claim.

         10.       A Notice of Filing for Removal to Federal Court is being filed

contemporaneously in the Superior Court for the District of Columbia, a copy of which is attached

hereto as Exhibit B.

         11.       Removal to this Court is appropriate because Plaintiff’s action is pending in this

District. See 28 U.S.C. § 1441(a).

         12.       Written notice of this pleading has been mailed to counsel for Plaintiff.

         WHEREFORE, Defendant respectfully prays that the above-referenced action brought in

the Superior Court of the District of Columbia be immediately removed to this Court.


Dated: July 15, 2019                            Respectfully submitted,


                                                ___________________
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                                                Jenna N. Mennona (DC Bar No. 1030479)
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                                                Counsel for Defendant




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on this 15th day of July, 2019, a copy of the foregoing was served

via First-Class Mail, postage prepaid, on the following:

                                       Stephen Z. Chertkof
                                       Heller, Huron, Chertkof & Salzman, PLLC
                                       1730 M Street NW, Suite 412
                                       Washington, DC 20036

                                       Counsel for Plaintiff


                                                               __________________
                                                               Denise Giraudo




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